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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a NeW MeXico
limited liability company,

VS.

Plaintiff,

Case Number: l:lQ-cv-OO?SS-JAP-ACT

TESLA MOTORS, INC., a Delaware

 

 

corporation,
Defendant.
NOTICE TO TAKE DEPOSITION OF
DIARMUID O’CONNELL
TO: Diarrnuid O’Connell

c/o Andrew G. Schultz

Rodey, Dickason, Sloan, Akin & Robb, PA
P.O. Box 1888

Albuquerque, NeW Mexico 87103 - l 8 8 8

PLEASE TAKE NOTICE that the attorneys for Plaintiff Ri<) Real Estate Investment

Opportunities, LLC, Will take the Depesition of Diar_rnuid O’Connell beginning at 9:00 a.m. on

March 19, 2013 at the offices ef Tesla Motors, lnc., 3500 Deer Creek Road, Palo Alto, CA

94304 before a certified court reporter The Deposition so taken may be used at trial pursuant to

Fed.R.Civ.Pro. 32.

LASTRAPES, SPANGLER & PACHECO, P.A.

By' M'

Christopher M. Pacheeo

LeeAnn Werbe]ow

Attorneys for Plaintiff

P. O. BOX 15698

Rio Rancho, New Mexico 87174
Telephone: (505) 892-3607

 

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I hereby certify that a true and
correct copy of the foregoing Was
mailed by electronic mail and United
States ail to counsel of record on
this _ day of February, 2013.

    

er M. Pacheco

